     Case 2:19-cv-02408-GMS Document 266-1 Filed 04/09/21 Page 1 of 1



 1                           IN THE UNITED STATES DISTRICT COURT
 2                                FOR THE DISTRICT OF ARIZONA
 3    Chad Shoults, an individual on behalf of       Case No. CV-19-2408-PHX-GMS
      himself and those similarly situated,
 4                                                   ORDER EXTENDING CERTAIN
                                     Plaintiff,      DATES IN THE CASE MANAGEMENT
 5                                                   ORDER (DOC. 20)
                  vs.
 6
      G4S Secure Solutions (USA) Inc., a
 7    Florida corporation,
 8                                   Defendant.
 9                The parties having stipulated to the entry of this Order, as evidenced by the
10
      signatures of their respective Counsel on the parties’ Stipulation to Extend Certain Dates
11
      in the Case Management Order, and the Court being otherwise fully advised in the
12
13    premises and good cause appearing therefore:

14                IT IS HEREBY ORDERED, that the deadlines in the Court’s August 5, 2019
15
      Case Management Order (Doc. 20) be extended, as follows:
16
       Deadline to supplement MIDP and for completion of              July 23, 2021
17
       fact discovery
18     Pre-Motion Conference Filings                                August 20, 2021
       Dispositive Motions                                         September 17, 2021
19
20
      IT IS SO ORDERED.
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